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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

            Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

         MOTION TO FILE PORTIONS OF GLOBAL ISSUES BRIEF UNDER SEAL

            The United States of America respectfully moves this Court to file under seal, with

  proposed redactions, its brief to the Special Master concerning certain “global issues”

  identified in the course of the Special Master’s review process. See Docket Entry (“D.E.”) 161-

  1, 162.

            Portions of the government’s brief should be sealed pursuant to the Protective Order

  issued by the Special Master because they “refer[] to” certain Seized Materials or certain

  categories of Seized Materials. D.E. 113 ¶ 3 (“Nothing herein shall prevent a party from using

  Seized Materials as exhibits to pleadings or otherwise, or from referring to, quoting, or reciting

  from Seized Materials in connection with pleadings or motions filed in the above-captioned

  case; provided, however, that any such Seized Materials be filed under seal or submitted to the

  Special Master or Court for in camera inspection.”). 1


  1
       Before filing this motion, the government reached out to Plaintiff’s counsel to ask for
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         WHEREFORE, the United States respectfully requests permission to file later today

  its brief to the Special Master under seal, with proposed redactions.



                                             Respectfully submitted,


                                                     /s Juan Antonio Gonzalez
                                                     JUAN ANTONIO GONZALEZ
                                                     UNITED STATES ATTORNEY
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                                                     99 NE 4th Street, 8th Floor
                                                     Miami, FL 33132
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 8, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                             s/ Juan Antonio Gonzalez
                                             Juan Antonio Gonzalez
                                             United States Attorney




  Plaintiff’s position on the relief requested, but the government has not been able to confirm
  Plaintiff’s position at this time.
